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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                   TAMPA DIVISION


UNITED STATES OF AMERICA,

vs.                                                   CASE NO. 8:91-CR-300-T-17


RALPH EDWIN BRAZEL, JR.
                                       /
                                            ORDER

       This cause comes before the Court on the defendant’s motion for modification of
sentence, the requested modification was based on the retroactive application of revised cocaine
base sentencing guidelines (Docket No. 845). The Court appointed counsel in this case and
required responses from the United States Probation Office, the government, and the defendant
through his appointed counsel. The Court has received and reviewed the responses (Docket Nos.
859 and 853 and Probation’s Amended Retroactive Crack Cocaine Amendment Eligibility
Assessment). The government and probation concur that the defendant is not eligible for a
reduction in sentence based on the amended guidelines. The Court finds those responses
persuasive. Accordingly, it is.


       ORDERED that defendant’s motion for modification of sentence, the requested
modification was based on the retroactive application of revised cocaine base sentencing
guidelines (Docket No. 845) be denied.


       DONE AND ORDERED in Chambers in Tampa, Florida this 1st day of April, 2009.
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Copies furnished to: All Counsel of Record
